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     Attorney for Plaintiff,
5    DAISY CHATTANOND
6                          IN THE UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
7                                    WESTERN DIVISION
8

9    DAISY CHATTANOND,                 )             Case No.: 2:15-cv-8549
                                       )
10                                     )             COMPLAINT AND DEMAND FOR
                Plaintiff,             )             JURY TRIAL
11                                     )
          v.                           )             (Unlawful Debt Collection Practices)
12                                     )
                                       )
13   DISCOVER FINANCIAL SERVICES, LLC, )
                                       )
14                                     )
                Defendant.             )
15                                     )
16
           DAISY CHATTANOND (Plaintiff), by her attorneys, KROHN & MOSS, LTD., alleges
17
     the following against DISCOVER FINANCIAL SERVICES, LLC (Defendant):
18
                                           INTRODUCTION
19
        1. Count I of Plaintiff’s Complaint is based on Telephone Consumer Protection Act, 47
20
           U.S.C. § 227 et seq. (TCPA).
21
        2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection Practices
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           Act, Cal. Civ. Code § 1788 et seq. (RFDCPA).
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                                        PLAINTIFF’S COMPLAINT
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                                    JURISDICTION AND VENUE
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        3. Jurisdiction of this Court over Counts I of Plaintiff’s Complaint arises pursuant to 28
2
           U.S.C. § 1331, and 28 U.S.C. § 1367 grants this court supplemental jurisdiction over the
3
           state claims contained herein.
4
        4. Defendant conducts business in the State of California thereby establishing personal
5
           jurisdiction.
6
        5. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
7
                                                PARTIES
8
        6. Plaintiff is a natural person residing in Walnut, Los Angeles County, California.
9
        7. Defendant is a business entity with a principal place of business in Riverwoods, Illinois.
10
        8. Defendant acted through its agents, employees, officers, members, directors, heirs,
11
           successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
12
                                     FACTUAL ALLEGATIONS
13
        9. In or around 2015, Defendant began constantly and continuously places collection calls to
14
           Plaintiff seeking and demanding payment for an alleged debt owed for a student loan.
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        10. Plaintiff’s alleged debt arose through a consumer credit transaction.
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        11. Defendant places collection calls from telephone numbers, including, but not limited to,
17
           623-643-6000.
18
        12. Defendant places collection calls to Plaintiff’s cellular telephone at phone number 909-
19
           576-42XX.
20
        13. Based upon the timing and frequency of Defendant’s calls and per its prior business
21
           practices, each of Defendant’s calls were placed using an automatic telephone dialing
22
           system.
23
        14. On or around June 2, 2015 at approximately 6:21 p.m., Plaintiff spoke to Defendant’s
24
           representative , “Stephanie,” and requested that Defendant cease placing calls to her
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                                         PLAINTIFF’S COMPLAINT
     Case 2:15-cv-08549-RSWL-JC Document 1 Filed 11/02/15 Page 3 of 5 Page ID #:3




1          cellular telephone.

2       15. Plaintiff revoked any consent, express, implied or otherwise, to receive automated

3          collection calls from Defendant.

4       16. Despite Plaintiff’s repeated requests to cease, Defendant continued to place multiple

5          collection calls to Plaintiff on a daily basis, including at least fifty-six (56) automated

6          collection calls to Plaintiff over an approximate ten-week period.

7                                               COUNT I

8      DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTIONS ACT

9       17. Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,

10         entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation

11         pursuant to 47 U.S.C. § 227(b)(3)(B).

12      18. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

13         willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

14         damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

15         § 227(b)(3)(C).

16         Wherefore, Plaintiff, DAISY CHATTANOND, respectfully requests judgment be entered

17   against Defendant, DISCOVER FINANCIAL SERVICES, LLC for the following:

18      19. Statutory damages of $500.00 for each and every negligent violation of the TCPA pursuant

19         to 47 U.S.C. § (b)(3)(B);

20      20. Statutory damages of $1500.00 for each and every knowing and/or willful violation of the

21         TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

22      21. All court costs, witness fees and other fees incurred; and

23      22. Any other relief that this Honorable Court deems appropriate.

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                                         PLAINTIFF’S COMPLAINT
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1                                 COUNT II
           DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
2                              PRACTICES ACT
3       23. Plaintiff repeats and realleges all of the allegations in Count I of Plaintiff’s Complaint as
4          the allegations in Count II of Plaintiff’s Complaint.
5       24. Defendant violated the RFDCPA based on the following:
6              a. Defendant violated § 1788.11(d) of the RFDCPA by causing a telephone to ring
7                  repeatedly or continuously to annoy the person called;
8              b. Defendant violated § 1788.11(e) of the RFDCPA by communicating with Plaintiff
9                  with such frequency as to be unreasonable and to constitute a harassment to
10                 Plaintiff.
11             c. Defendant violated § 1788.17 of the RFDCPA by failing to comply with the Fair
12                 Debt Collection Practices, Act, 15 U.S.C. § 1692 et seq., to wit:
13                       1. Defendant violated §1692d of the FDCPA by engaging in conduct the
14                              natural consequence of which is to harass, oppress, or abuse Plaintiff;
15                       2. Defendant violated §1692d(5) of the FDCPA by causing a telephone to
16                              ring repeatedly or continuously with intent to annoy, harass, or abuse
17                              Plaintiff.
18         WHEREFORE, Plaintiff, DAISY CHATTANOND, respectfully requests judgment be
19   entered against Defendant, DISCOVER FINANICAL SERVICES, LLC for the following:
20      25. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection Practices
21         Act, Cal. Civ. Code §1788.30(b),
22      26. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection
23         Practices Act, Cal. Civ Code § 1788.30(c), and
24      27. Any other relief that this Honorable Court deems appropriate.
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                                             PLAINTIFF’S COMPLAINT
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1                                            RESPECTFULLY SUBMITTED,
        DATED: November 2, 2015
2
                                              KROHN & MOSS, LTD.
3

4
                                       By: /s/Ryan Lee
5                                             Ryan Lee
                                              Attorney for Plaintiff
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8                                DEMAND FOR JURY TRIAL

9            PLEASE TAKE NOTICE that Plaintiff, DAISY CHATTANOND, demands a jury trial in

10   this case.

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                                     PLAINTIFF’S COMPLAINT
